Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 1 of 19




                            Exhibit 39
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 2 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 3 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 4 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 5 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 6 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 7 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 8 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 9 of 19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 10 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 11 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 12 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 13 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 14 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 15 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 16 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 17 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 18 of
                                      19
Case 0:17-cv-60426-UU Document 225-16 Entered on FLSD Docket 10/01/2018 Page 19 of
                                      19
